 

Case 1:23-cr-00023-RDM Document 6 Filed 01/24/23 Page 1 of 1

AO 442 (Rev. 11/11) Arrest Warrant

 

 

UNITED STATES DISTRICT COURT
for the

District of Columbia

United States of America

a Case: 1:23-cr-23

Assigned Fo: Judge Randolph B. Moss

 

)
)
ANDRE WHITEHEAD ) Assign. Date: 1/19/2023
) Description: INDICTMENT (B)
Case Related to 22-cr-289 (RDM)
Defendant

ARREST WARRANT

To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

{name of person to be arrested) ANDRE WHITEHEAD ,
who is accused of an offense or violation based on the following document filed with the court:

@& Indictment O Superseding Indictment O Information © Superseding Information © Complaint
0 Probation Violation Petition © Supervised Release Violation Petition Violation Notice ( Order of the Court

This offense is briefly described as follows:

18 USC §§ 922(q)(2)(A) and 924(a)(4) - UNLAWFUL POSSESSION OF A FIREARM IN A SCHOOL ZONE;
22 DC Code § 4503(a)(1),(b)(1) - UNLAWFUL POSSESSION OF A FIREARM (PRIOR CONVICTION);
FORFEITURE: 18 USC § 924(d); 21 USC § 853(p), and 28 USC § 2461(c)

 

 

 

 

 

2023.01.2
bes 0 11:01:56

1 t
Date: 01/18/2023 05 00
issuing officer's signature

City and state: | WASHINGTON, O.C. ZIA M. FARUQUI, U.S. MAGISTRATE JUDGE

Printed name and tile
Return
This warrant was received on (date) uf 24/02" , and the person was arrested on (date) Lz leoz3

at (city and siate)

Date: Vy 2Hftot 4% ____ Su ff
sell icer ‘s signature
____Ster EP Lowel “Wo __
Prihted name and title

 

 

 
